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 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   LISA KAYE GOLDEN,                                Case No.: 20-CV-2052 TWR (NLS)
12                                   Appellant,
                                                      ORDER REQUIRING PAYMENT OF
13   v.                                               FILING FEE
14   JEFFREY ROGERS,
15                                    Appellee.
16
17         Appellant Lisa Golden, proceeding pro se, initiated this bankruptcy appeal on
18   October 19, 2020. (See generally ECF No. 1.) All parties instituting a bankruptcy appeal
19   must pay a filing fee of $298, see Fed. R. Bankr. P. 8003(a)(3)(C) (“The notice of appeal
20   must . . . be accompanied by the prescribed filing fee.”); 28 U.S.C. § 1930(c) ($5 appeal
21   fee); Bankruptcy Court Miscellaneous Fee Schedule item 14 ($293 for appeal), unless they
22   are granted leave to proceed in forma pauperis (“IFP”). See 28 U.S.C. § 1915(a).
23         Appellant has not paid the requisite $298 filing fee, (see ECF No. 1-2), or filed a
24   motion to proceed IFP.      Further, the Honorable Dana M. Sabraw determined on
25   September 30, 2020 that Appellant failed to meet her burden to proceed IFP in her pending
26   appeals. The Court therefore ORDERS Appellant to pay the full $298 filing fee on or
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28   ///

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     Case 3:20-cv-02052-TWR-NLS Document 4 Filed 11/05/20 PageID.34 Page 2 of 2



 1   before November 20, 2020. Should Appellant fail timely to pay the filing fee, the Court
 2   will dismiss this action without prejudice.
 3         IT IS SO ORDERED.
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 5   Dated: November 5, 2020
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